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LOCKING UP POLITICAL


SPEECH
How Electioneering Communications Laws Stifle Free Speech and Civic Engagement




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Locking Up Political


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               Executive Summary
                   Americans were once free to speak about politics without asking
                   permission from the government or being forced to document their
                   political activities for the authorities. But under the guise of “campaign
                   finance reform,” government regulation of political speech has
                   metastasized, spreading far beyond the mere financing of campaigns
                   to monitor and control everyday political speech by ordinary citizens.

                   The latest wave of such regulation is state and federal laws targeting so-called
                   “electioneering communications.” The term is most closely associated with the federal
                   Bipartisan Campaign Reform Act of 2002, known popularly as McCain-Feingold,
                   and describes broadcast ads that merely mention a federal candidate and that air
                   shortly before an election. For the first time in American history, federal law brought
                   such speech and the groups that engage in it under the regulatory control of the
                   government.

                   Soon after the U.S. Supreme Court upheld that law, states began to follow suit—but
                   with even more sweeping regulations of political speech. Fifteen states now have
                   “electioneering communications” laws, and more are considering them. Most of those
                   laws impose more onerous requirements and cover more political speech than the
                   federal law.

                   The unprecedented reach of electioneering communications laws leaves little room
                   for unregulated political activity and puts even clearly non-political civic associations
                   under the control of campaign finance bureaucrats. The mere mention by a civic
                   group of a candidate or ballot issue on its website, let alone an opinion, can trigger
                   regulation.
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                                      The unprecedented reach of electioneering
                                      communications laws leaves little room for
                                      unregulated political activity and puts even clearly
                                      non-political civic associations under the control of
                                      campaign finance bureaucrats.




  To find out how these laws—and the extensive disclosure and reporting requirements they
  impose—would impact nonprofits in the real world, this project surveyed more than 1,000 civic
  groups in Florida, home to the broadest electioneering communications law in the nation. The
  responses from more than 230 groups indicate:

  •   Non-political groups will likely be swept up by these laws. While less than one percent
      of the groups have an explicitly political mission, 30 percent at least occasionally
      communicate with the public about policy issues. These groups could inadvertently find
      themselves subject to regulation if the issues they care about become part of an election
      campaign.

  •   Most nonprofits will face a heavy regulatory burden under these laws if they speak
      about politics. The nonprofit groups in the sample are quite small, with few donations
      to support their work (a median of just $35,000 annually) and few employees (a median
      between three and four people). Most groups do not have any staff member, or have just
      one part-time person, tracking the kinds of contributions and expenditures these laws
      demand to be reported. Complying with electioneering communications laws would
      impose potentially large costs on these groups, diverting them from their core missions.

  •   These laws will force most organizations to compromise donor privacy if they speak
      about politics, thereby risking financial support. Nearly 70 percent of the nonprofits
      strongly resist revealing the kind of individual-level donor information required by
      electioneering communications laws. More than 36 percent of the groups expect to take a
      fundraising hit if required to reveal detailed donor information about all contributors.

  These results demonstrate that electioneering communications laws impose expensive and
  intrusive regulations on civic groups if they simply exercise their First Amendment right to speak
  about politics. In effect, electioneering communications laws “lock up” ordinary political speech
  as off-limits to groups without the resources to comply with the regulations.

  Legislators would do well to consider repealing these laws and avoid similar expansions of the
  regulation of political speech, and courts should take seriously the anti-democratic impacts of
  electioneering communications regulations and the real-world burdens they impose on First
  Amendment rights.
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                                                       Introduction
        Citizen participation in politics is the cornerstone     groups of political professionals formed for
        of democratic governance. But in state after state,      the purpose of engaging in “express advocacy”
        under the guise of “campaign finance” regulation,        (using words such as “vote for,” “elect,” “support”
        new laws are requiring people to get the                 or “defeat”) to get candidates elected to office,
        government’s permission and report their political       have long been regulated. The difference, and it
        activities to the authorities in order to participate    is an ominous difference, is that the new series
        in politics.                                             of electioneering communications laws have
                                                                 extended all the way to regulate ordinary people
        The latest wave of such regulation is state and          and groups who merely mention or state an
        federal laws targeted to so-called “electioneering       opinion about candidates or issues on the ballot,
        communications.” This term is most closely               leaving very little political speech that is beyond
        associated with the 2002 Bipartisan Campaign             the reach of the government. These new laws put
        Reform Act (BCRA), known popularly as McCain-            even civic associations whose missions are non-
        Feingold, and covers political speech in ads on          political under the control of campaign finance
        broadcast, cable or satellite radio or TV that           bureaucrats.
        merely mentions a candidate for federal office
        within 30 days of a primary or 60 days of a general      This unprecedented expansion of the scope
        election. McCain-Feingold made such speech,              of government regulation of political speech
        and the groups that engage in it, subject to             poses at least two potential problems for citizen
        federal regulation, registration and reporting           participation in politics and civic engagement
        for the first time in American history. Soon after       more generally. Both stem from requirements
        the U.S. Supreme Court gave the green light to           in the law that would force nonprofit groups to
        regulating such speech in McConnell v. FEC in 2003,      disclose detailed information to the government
        states began following suit, regulating speech           and the general public about the identities and
        that merely mentions candidates for state or local       contribution amounts of their donors, as well as
        office and even issues on the ballot. And these          an explicit accounting of time and resources the
        state regulations extend beyond broadcast, cable         groups devote to political speech.
        and satellite ads to things like flyers, the Internet,
        billboards and even hand-lettered signs if the           The first problem these disclosure requirements
        organization purchased the cardboard. Fifteen            raise is increased burden, in effect explicit and
        states have electioneering communications laws,          implicit taxes on organizing and acting at the
        and others are considering them. Most of those           grassroots level, reducing the vitality and vigor
        laws impose more onerous requirements and cover          of private associations. The second problem is a
        more political activity than the federal law, BCRA.      chilling effect. Because of the burdens imposed by
                                                                 the regulations, private associations are less likely
        Though it has been little noticed or commented           to engage in political speech, leading to a less
        on in the media, these laws have expanded the            informed electorate. Moreover, if they do speak
        regulation of political speech and speakers beyond       about politics, they may find themselves subject to
        what are traditionally thought of as “political”         a host of onerous regulations.
        organizations or campaigns. Political committees,
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                                          States have followed up the federal regulation
                                          of “electioneering communications” with laws
                                          that regulate even more speech—specifically, the
                                          grassroots political speech of ordinary citizens and
                                          civic groups. This level of regulation of basic political
To examine whether
electioneering
                                          speech is unprecedented.
communications laws in fact
create problems of an increased
burden and a chilling effect on political               candidate elected to office—in other words,
activity in the real world, I surveyed a sample         is a political committee, or PAC—and that
of more than 1,000 organizations registered             group uses the “magic words” of “express advocacy”
as nonprofits in Florida, home to the broadest          to do so. In 2002, Congress passed BCRA, in which
electioneering communications law in the nation.        it expanded the regulation of political speech
Indeed, a federal district judge suspended Florida’s    to include “electioneering communications,”
law days before the November 2008 election,             defined as broadcast, cable or satellite ads that
noting that “no court has ever upheld such a            merely mention a candidate within 60 days of a
sweeping regulation of political speech,” and in        general election or 30 days of a primary election.
May 2009 the judge struck down the law entirely,        The Supreme Court, in McConnell v. FEC,3 in
although the state plans to appeal.1                    2003 upheld Congress’ ability to regulate this
                                                        relatively narrow category of speech, although it
As a preview, the results document the                  subsequently narrowed further the application of
very significant costs, and the profoundly              the law in 2007 in FEC v. Wisconsin Right to Life, Inc.
anti-democratic impacts, of electioneering              (WRTL II).4
communications laws. Disclosure laws triggered
by electioneering activities expose organizations       In WRTL II, the Court rejected an attempt to ban
to a significant burden of cost and diversion of        an ad that urged citizens to contact their elected
resources away from core missions, a possible loss      representative—also a candidate at the time—
of support from donors who do not wish their            about an issue before Congress. In doing so, the
contributions and identities to be made public, a       Court held that electioneering communications
chilling effect on political speech and activity, and   could be regulated only in very limited
expose even non-political groups to the possibility     circumstances—that is, if they are “susceptible
of regulation for just speaking about politics.         of no reasonable interpretation other than as an
                                                        appeal to vote for or against a specific candidate.”5
                                                        The Wisconsin Right to Life ad at issue, the Court
                                                        ruled, was susceptible to another interpretation—
                                                        that is, as a request for its recipients to contact their
                                                        U.S. Senator to oppose a filibuster. Thus, it could
                                                        not be regulated. As the Court held, “Discussion of
“Electioneering Communications”:                        issues cannot be suppressed simply because the
The Latest Frontier of Speech                           issues may also be pertinent in an election. Where
                                                        the First Amendment is implicated, the tie goes to
Regulation                                              the speaker, not the censor.”6

When most people think about “campaign finance”         Despite these limitations, states have followed
law, they think of the regulation of financial          up BCRA’s regulation of “electioneering
contributions to candidates. But these laws             communications” with laws that regulate even
also regulate speech. In the seminal campaign           more speech—specifically, the grassroots political
finance case Buckley v. Valeo,2 the U.S. Supreme        speech of ordinary citizens and civic groups. This
Court in 1976 held that Congress could regulate a       level of regulation of basic political speech is
group’s speech in the narrow circumstance where         unprecedented.
the group has the major purpose of getting a
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                                     Fifteen states have electioneering communications
                                     laws, and others are considering them. Most impose
                                     more onerous requirements and cover more political
                                     activity than the federal law, BCRA.




                                                                                                  Table 1 Features of Electioneering Disclosure Laws
         State                                                                                                 Communications Exempt
                                                   Definition*
     (Year Passed)                                                                                                from Regulation
                     • Identifies: Candidate (and also attributes to that candidate a position None
                       on an important national, state or local political issue)
        Alaska       • Media: Radio, TV, cable, satellite, Internet, mass mailing
        (2002)       • Time Period: 30 days
                     • Audience: No limit
                     • Identifies: Candidate                                                    None
      California     • Media: All (because none specified)
        (2000)       • Time Period: 45 days
                     • Audience: No limit
                     • Identifies: Candidate                                                    News/editorials in the press; business communications;
                     • Media: TV, radio, newspaper, billboard, mail, hand delivery or other     organization’s communications solely to members;
       Colorado        distribution                                                             communications referring to candidate-named bills
        (2003)       • Time Period: 30 days (primary) or 60 days (general)
                     • Audience: Includes members of electorate
                     • Identifies: Candidate                                                    Ads referring to candidate as part of a business that first
     Connecticut     • Media: Radio, TV, newspaper, magazine, billboard                         aired before candidacy
        (1999)       • Time Period: 90 days
                     • Audience: No limit
                     • Identifies: Candidate or ballot issue                                    Newsletters sent only to members; news/editorials in the
                     • Media: TV, radio, print, mail, and (with limited exceptions) telephone   press; debates or forums
                       and Internet
       Florida***    • Time Period: Candidates—beginning of candidacy; ballot issues—
        (2004)         designation on ballot or 120 days
                     • Audience: Candidates—1,000+ in relevant geographic area; ballot
                       issues—no limit
                     • Identifies: Candidate                                                    News/editorials in the press; in-house bulletins; debates
        Hawaii       • Media: Cable, satellite, radio, periodical, newspaper, mail              or forums
        (1999)       • Time period: 30 days (primary) or 60 days (general or special)
                     • Audience: No limit
                     • Identifies: Candidate
                     • Media: TV, radio, newspaper, billboard, mail, telephone or other         News/editorials in the press; business communications;
        Idaho          distribution                                                             organization’s communications solely to members;
        (2005)       • Time Period: 30 days (primary) or 60 days (general)                      communications referring to candidate-named bills
                     • Audience: Includes members of electorate for candidate
                     • Identifies: Candidate, political party or ballot issue                   News/editorials in the press; debates or forums; non-
        Illinois     • Media: All                                                               partisan voter registration and promotion; 501(c)3
        (2005)       • Time Period: 30 days (primary) or 60 days (general or consolidated)      charities; communications between labor organizations
                     • Audience: No limit                                                       and members
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                                                                WASHINGTON                                            VERMONT

                     ALASKA                                                    IDAHO           ILLINOIS                              CONNECTICUT
                                                                                                          OHIO

                                                                                                                                WEST VIRGINIA
                                                                                                                                 NORTH CAROLINA


                                               CALIFORNIA
     HAWAII                                                                                                                    FLORIDA
                                                              COLORADO
                                                                             OKLAHOMA                     LOUISIANA

    State                                                          Contributions Required                        Expenditures Required
                 Dollar Threshold for Regulation**
(Year Passed)                                                         to be Reported                                to be Reported
                $500.01                                   All related to communication (may require   All related to communication (except for groups
                                                          reporting of all contributions)8            with annual operating budget of $250 or less)
   Alaska
   (2002)

                $50,000 (promise or payment)              $5,000+ related to communication            All related to communication
 California
   (2000)

                $1,000 per year                           $250+ related to communication              All related to communication
  Colorado
   (2003)

                $1,000.01 expenditures (not just for      All related to communication                All related to communication
Connecticut     electioneering communications) related
   (1999)       to candidate for state office

                Any spending for groups; $100.01 for      All contributions received9                 All expenditures the organization makes10
                individuals
  Florida***
   (2004)


                $2,000 per year                           All related to communication                All related to communication
   Hawaii
   (1999)
                Any spending                              $50+ related to communication               All related to communication
   Idaho
   (2005)

                $5,000.01 in contributions or expenditures $150+ during a reporting period; appears   $150+ during a reporting period; appears to
   Illinois     (including electioneering communications) to cover most or all of funds received by   cover most or all expenditures by organization
   (2005)       per year for nonprofits; $3,000.01 for a   organization
                candidate, individual or group
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    Table 1 Features of Electioneering Disclosure Laws (continued)
         State                                                                                                          Communications Exempt
                                                         Definition*
     (Year Passed)                                                                                                         from Regulation
                         • Identifies: Candidate                                                        None
      Louisiana****      • Media: Broadcast, cable, satellite
          (2008)         • Time Period: 60 days
                         • Audience: No limit
                         • Identifies: Candidate                                                        News/editorials in the press; debates or forums; grassroots
                         • Media: Broadcast, cable, satellite                                           lobbying on specific legislature during legislative session
     North Carolina      • Time Period: 30 days (primary or nominating convention) or 60 days
          (2006)           (general or special)
                         • Audience: 50,000+ in state (for statewide office) or 7,500+ in district
                           (for General Assembly)
                         • Identifies: Candidate                                                        News/editorials in the press; debates or forums
                         • Media: Broadcast, cable, satellite
           Ohio          • Time Period: From beginning of candidacy until 30 days before
          (2008)           primary and from primary until 30 days before general
                         • Audience: No limit
                         • Identifies: Candidate or ballot issue                                     News/editorials in the press; debates or forums
                         • Media: Broadcast, cable, satellite, handbill, direct mail, newspaper,
                           magazine, billboard
       Oklahoma          • Time Period: 30 days (primary or runoff ) or 60 days (general or special
          (2005)           election)
                         • Audience: 2,500+ in state house district; 5,000+ in district for district
                           attorney, district judge, associate district judge or Oklahoma State
                           Senate; 25,000+ in state for statewide candidates or ballot measures
                         • Identifies: Candidate (must also promote, support, attack or oppose News/editorials in the press
                           candidate)
                         • Media: Newspaper, periodical, radio, TV, public address system,
        Vermont            billboards, outdoor facilities, buttons or printed material attached to
          (2005)           motor vehicles, window displays, posters, cards, pamphlets, leaflets,
                           flyers or other circulars, direct mailing robotic phone calls, mass e-mails
                         • Time Period: 30 days
                         • Audience: No limit
                         • Identifies: Candidate                                                        Ads for candidate-owned business; news/editorials in the
                         • Media: Broadcast, cable or satellite TV or radio, U.S. postal service        press; debates or forums; slate cards and sample ballots;
      Washington           mailing, billboard, newspaper, periodical                                    ads for book, films, etc. written about candidate (or by
          (2008)         • Time Period: 60 days                                                         candidate, 12 months before candidacy); public service
                         • Audience: No limit                                                           announcements; membership communications within
                                                                                                        political parties, political committees, corporations or unions
                         • Identifies: Candidates for statewide office and legislature                  News/editorials in the media; debates or forums; 501(c)3
     West Virginia • billboard
                     Media: Broadcast, cable, satellite, mass mailing, telephone bank,
                               advertising, newspaper, magazine, periodical
                                                                                                        charities; grassroots lobbying for specific legislation
                                                                                                        during legislative session; organization’s communications
          (2008)         • Time Period: 30 days (primary) or 60 days (general or special)               solely to members; certain ads for candidate-owned
                         • Audience: Relevant electorate                                                businesses; nonpartisan educational material


    * “Identifies” refers to whether a communication must identify a candidate, ballot issue or both and/or include other language to count as an electioneering
    communication. “Time Period” generally refers to the time before an election during which communications count as electioneering communications.

    ** Unless otherwise stated, the threshold number is the amount that must be spent on electioneering communications.

    *** Florida’s law was struck down by a federal district court in May 2009 and is not being enforced. The state plans to appeal.

    **** Lousiana requires all electioneering communications to contain a disclaimer identifying the communication’s sponsor but does not otherwise regulate
    electioneering communications.
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    State                                                       Contributions Required                        Expenditures Required
                  Dollar Threshold for Regulation**
(Year Passed)                                                      to be Reported                                to be Reported
                 None                                  None                                        None
Louisiana****
    (2008)

                 $10,000.01 per year                   Only if group receives corporate or labor   $1,000+ related to communication
                                                       contributions, then group must create
North Carolina                                         segregated fund for electioneering
    (2006)                                             communications and report all
                                                       contributions of $1,000+

                 $10,000.01 per year                   $200+ related to communication              $1+ related to communication
     Ohio
    (2008)

                 $5,000 (expenditures or obligation)   $50+ related to communication (in-state     All related to communication
                                                       committees) or $200+ (out-of-state
                                                       committees)
 Oklahoma
    (2005)



                 $500 for any one electioneering       $100+ related to communication              All related to communication
                 communication

  Vermont
    (2005)



                 $5,000 for electioneering             $250+ related to communication              All related to communication
                 communications relating to a single
Washington       candidate
    (2008)


                 $5,000 per calendar year, or $1,000   $1,000+ related to communication            $1,000+ related to communication
West Virginia within 15 days of election
    (2008)
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    When most people think about “campaign finance” law,
                                                                                           either by name or otherwise
    they think of the regulation of financial contributions to                             “unmistakable” content, to
                                                                                           identify the candidate or the
    candidates. But these laws also regulate speech.                                      ballot provision.11 In some
                                                                                         states the communication
                                                                                        must also reach the relevant
                                                                                      electorate or some number
                                                                                   of people—1,000 in Florida,
                 Fifteen states place legislative limits on                   for example—within the relevant
                grassroots political activity (see Table 1), and   electorate. In other words, these laws cover nearly
              others are considering such limits. Nearly all       any speech that costs money to produce and
           of the laws have been passed in the period after        merely mentions, let alone expresses an opinion
           BCRA and the endorsement of the principle of            about, a candidate, or in three states, an issue
           regulating electioneering communications given          on the ballot. That includes speech on websites
           in McConnell. Yet most of the laws reach much           (which cost money to host and maintain), in
           further than the definition of “electioneering          newsletters, on flyers and through other common
           communication” approved by the Supreme Court            ways that grassroots groups communicate with
           in McConnell. Indeed, the majority of these laws        members and the public.
           apply to a larger range of media, including print
           media such as flyers and newsletters, and the           EXEMPTIONS: Most of the laws do not regulate
           Internet. Some of them apply to speech about            spoken expression in direct conversation, and they
           ballot issues as well as speech about candidates.       exclude news stories and editorials by the media.
           And several also apply to speech over longer            Other exemptions include newsletters that are
           periods of time before an election. Furthermore,        seen by members only (clearly impossible for any
           in regard to speech about candidates, state laws        material posted to the Internet) and debates and
           go further than what is permissible under WRTL          public forums.
           II by capturing and regulating large amounts
           of speech that are not aimed at securing a
           candidate’s election or defeat. As a result of these    REQUIREMENTS: The widest variation in the
           expansions of the definition of “electioneering         state statutes can be seen in the requirements
           communications,” state laws now capture and             once the statute is triggered by at least one
           regulate the ordinary speech of all sorts of            non-exempt communication. But in general,
           grassroots groups.                                      there are two main sets of requirements. The
                                                                   first is reporting expenditures, and the second is
           All of the state electioneering communications          disclosing and reporting contributions. To report
           laws have a common structure. They first define         expenditures, the organization is obliged to keep
           a “trigger,” or a set of actions or political speech    detailed records on how its money is spent and on
           that constitute electioneering communications,          how employees or volunteers spend their time. To
           and thus bring the organization under the law’s         report contributions, the organization must reveal
           requirements; they give exemptions from the             information about the identities, occupations and
           regulations; and then they specify the obligations      exact contribution amounts of some or all donors.
           of an organization under the act, as well as
           punishments for not satisfying the requirements.        Table 1 provides the following details about state
                                                                   electioneering communications laws: 1) what
                                                                   speech they regulate, 2) what speech is exempted
           TRIGGERS: The triggers in all 15 states are             from regulation, 3) how much a group must spend
           very similar. The statutes refer to any paid            in order to be regulated, 4) whether organizations
           communication, provided that the communication          must report contributions they receive, including
           or message contains some explicit reference,
                                                                                                                                         10
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Florida’s electioneering communications law—halted by a federal court—is the nation’s broadest. It prevents speakers like
Charlotte Greenbarg, left, of the Broward Coalition and Kristina Rasmussen, right, of the National Taxpayers Union from publishing
information about ballot issues. They are joined by Bert Gall, senior attorney of the Institute for Justice, which challenged the law.

personal information about donors, and 5) whether                          newsletter available to its members and the
organizations must report their expenditures. For                          general public on the group’s website. In the
example, Florida regulates almost all speech that                          newsletter, the group wanted to discuss issues
mentions either a candidate or an issue on the                             on the November 2008 ballot of interest to its
ballot. Its law exempts news stories and editorials                        constituents.
in the press, certain forums on candidates and                      •      The National Taxpayers Union, based in
ballot issues, and newsletters that are available                          Alexandria, Va., regularly publishes voter guides
only to a group’s members. (Posting a newsletter                           on tax-related ballot issues in all 50 states. But
online would therefore not be exempt and would                             to even mention ballot issues in a state with a
be regulated.) As long as a group’s communication                          law like Florida’s would require compliance with
costs some money to make, no matter how little, it                         electioneering communications laws, including
can be regulated. And Florida’s laws require that a                        registration and disclosure requirements.
group file regular reports on all the contributions it                     National think-tanks could be forced to register
receives and expenditures it makes.                                        and file disclosure information in every state or
                                                                           city with such laws.
What kinds of organizations and what kinds of
political speech are regulated under these laws?                    As these examples show, electioneering
Based on court cases, an advisory opinion from the                  communications laws like Florida’s transform
Florida Attorney General and the plain language                     grassroots organizations whose missions are not
of Florida law, all of the following are real-life                  focused on electoral politics into fully regulated
examples of political activity regulated by Florida’s               political groups, much like PACs, if they merely
electioneering laws:12                                              mention or express an opinion about a candidate
                                                                    or issue on the ballot. This extension of campaign
•     The University of Florida College Libertarians,               finance regulations over ever more political speech
      which has an annual budget of less than $100,                 and over non-political groups raises the specter
      wanted to distribute flyers that would be seen                that such groups will be forced to either pay a
      by thousands of students, faculty and staff                   higher price for their speech, as regulatory burdens
      advertising a speech by a candidate on the                    divert them from their core missions and disclosure
      November 2008 ballot.                                         requirements scare away donors, or stay silent,
•     The all-volunteer Broward Coalition of                        suppressing their own speech and depriving the
      Condominiums, Homeowners Associations                         public of their viewpoints on important issues of
      and Community Organizations, Inc., in                         the day.
      Broward County, Fla., publishes a monthly
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            M e t h o d s a n d r e sul t s

         Survey of Nonprofit Associations                         The Burden of Speech Regulation
                                                                  on Nonprofit Organizations
         To examine how these electioneering
         communications laws and the disclosure
         requirements they impose are likely to affect the        I found that the disclosure requirements of
         activities of real-world nonprofit organizations,        electioneering communications laws will force
         I surveyed more than 1,000 Florida nonprofits            organizations to change the way they conduct
         during the months of October through December            their activities. There are two main categories of
         2008. The sample was drawn from the population           what we call “burden” in this report. The first is a
         of all organizations registered as nonprofits in         change in the way that organizations keep track of
         the state of Florida, and written surveys were           contributions, expenditures and employee time.
         followed up by a second wave of surveys and then         The second is the way that information about
         telephone calls. In all, more than 230 valid survey      contributions and contributors is reported and
         responses were returned, and the results analyzed.       shared.
         The full survey and results are listed in Appendix A.
         Although some statistical analyses were performed        Based on the size of the organizations in
         to determine whether the missing responses were          our sample, it is highly probable that many
         random or systematic (See Appendix B for results),       grassroots organizations, even those formally
         the results reported here depend only on response        registered as nonprofits, focus nearly all their
         percentages.                                             efforts on their main activities. This means little




         Table 2 The Burden of Tracking and Processing Contributions and Expenditures

                   Who Keeps Track Now?                   Contributions         Expenditures          Employee Time
          No One Keeps Track/ No Formal Record is Kept           12%                  4%                    60%
                      One Person, Part-Time                      45%                  46%
                      One Person, Full-Time                      21%                  18%
                    Part-Time, Several People                    12%                  18%
                    Full-Time, Several People                    5%                   10%
                                                                                                                                                       12
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                                      regard is likely paid to internal bookkeeping or          no one keeping track of expenditures on a weekly
                                      accounting, because the amounts are so small              basis, or else just one person, part-time. Less than
                                      and the budgets of the organizations so limited.          30 percent of nonprofits had even one person
                                      The median number of people employed in the               keeping records of contributions or expenditures
                                      organizations we sampled is between three and             full-time. Further, in fully 60 percent of the
                                      four. In fact, these organizations operate with more      organizations no one, either full-time or part-time,
                                      volunteers—a median of 20—than paid employees.            kept any track whatsoever of the proportion of
                                      Median annual contributions (the greatest source of       employee effort devoted to specific projects. This
                                      revenue) total only $30,000 from state funders and        means that were such organizations required to
                                      another $5,000 from national donors.                      comply with the electioneering communications
                                                                                                law, yet another layer of burden would be
                                      But under the disclosure laws, electioneering             imposed, as they would have to track employee
                                      activities would require that nearly every aspect         time dedicated to producing or disseminating
                                      of the organizations’ activities be subjected to          information in communications.
                                      extensive and intrusive accounting and reporting
                                      requirements. If these requirements are not               Moreover, as Figures 1 and 2 illustrate, these
                                      followed exactly, there are civil penalties, some quite   burdens would fall disproportionately on smaller
                                      severe. Alaska’s fines, for instance, can be up to $500   organizations. Figure 1 shows the percentage
                                      per day,13 and Vermont’s penalties include a $10,000      of organizations (organized by number of
                                      fine.14 And some states, such as Connecticut15            contributions received) that do not employ
                                      and Florida,16 even specify criminal penalties for        anyone to process or record donations or employ
                                      violations, including up to one year of jail time.        only one person part-time to track and record
                                                                                                expenditures. As shown, a greater percentage of
                                      The results regarding the likely burden of                smaller organizations have no such person, while
                                      electioneering disclosure laws were striking.             all of the larger organizations have at least one
                                      As shown in Table 2, in more than half of the             person dedicated to that task. Figure 2 illustrates
                                      organizations—more than 56 percent—either                 the identical phenomenon but uses number of
                                      no one keeps track of contributions, or it is done        employees as the measure of organizational size.
                                      by one person, part-time. Almost half of the              With both measures the implication is the same:
                                      organizations (just under 51 percent) had either          Electioneering communications laws that would




                                      Figure 1 Organizations With Less Funding Are More Likely to Have No Employees Recording Contributions
                                      and Expenditures

                                       60%                                                                                     Contributions
Percentage of Organizations With No




                                                                                                                               Expenditures
 Employees Assigned to Recording




                                       50%


                                       40%


                                       30%


                                       20%


                                       10%


                                        0%
                                                   $0 - $10,000          $10,001 - $100,000     $100,001 - $1,000,000       > $1,000,000

                                                                                      Total Donations
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                                                    60%                                                                                   Contributions
                                                    require the recording and reporting of information     also have either no one or oneExpenditures
                                                                                                                                           part-time person
                                                    such
                                                    50% as contributions and expenditures would            who keeps track of expenditures. Being forced to
                                                    impose a significant and disproportionate burden       change the nature of record-keeping, and hiring
                                                    on small nonprofits.                                   more record-keepers, therefore, would change
                                                    40%                                                                    these organizations and their
                                                                                                                               culture fundamentally.
                                        The30%
                                             extra burden of complying with complex                             In addition, the extra
                                        and20%
                                             extensive disclosure requirements diverts                            burden of complying with
                                                                                                                  complex and extensive
                                        nonprofits away from their core mission. Instead                          disclosure requirements
                                                                                                                  diverts nonprofits away
                                        of spending
                                            10%      money to advance their purpose,                              from their core mission.
                                        these disclosure laws would divert employee time,                         Instead of spending
                                             0%                                                                   money to advance their
                                        organization$0money
                                                      - $10,000 and administrative
                                                                     $10,001 - $100,000 attention
                                                                                         $100,001 - $1,000,000       > $1,000,000
                                                                                                                  purpose,  these disclosure
                                                                                                                 laws would divert
                                        toward make-work disclosure tasks.                                     employee time, organization
                                                                                                                                money and administrative
                                                                                                                             attention toward make-work
                                                                                                                        disclosure tasks.
                                                            The survey results, then, show how
                                                           electioneering communications disclosure        The responses to the survey also reveal another
                                                         laws lead to a professionalization of political   striking aspect of the burdens of electioneering
                                                    participation. Most of the organizations in the        communications disclosure laws: increased costs
                                                    sample (more than 56 percent) have either no           of raising money for the core purpose of the
                                                    one or one part-time employee who keeps track          nonprofit organization. To see why, consider the
                                                    of contributions. Most (just under 51 percent)         contents of Table 3.



                                                    Figure 2 Organizations With Fewer Employees Are More Likely to Have No One or a Part-Time Employee
                                                    Recording Contributions and Expenditures

                                                    60%
     Percentage of Organizations With No One or a
      Part-Time Employee Assigned to Recording




                                                                                                                                        Contributions
                                                                                                                                        Expenditures
                                                    50%


                                                    40%


                                                    30%


                                                    20%


                                                    10%


                                                     0%
                                                                  0             1 - 10          11 - 50      51 - 100      101 - 1000       > 1000


                                                                                                Number of Employees
                                                                                                                     14
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The nonprofit organizations were asked what                identities are not only unavailable to the public, they
information they would willingly share, and in             are not even widely known inside the organizations.
what forums they currently share information,
about donors. As shown in Table 3, fully 43 percent        Compare this to the actual reporting requirements
of the nonprofits would not willingly share any            of most electioneering communications disclosure
information, of any kind, about their donors. (And         laws: Full name of contributor (22 percent are
these are nonprofits that responded to a survey            willing to provide this); address (8 percent would
that appeared in the mail, suggesting that this is a       be willing); individuals’ occupations (5 percent are
group relatively more likely to share information.         willing); and amount of contribution (8 percent are
The likely bias among the nonrespondents is toward         willing).
even higher levels of preference for nondisclosure.)
Adding the nonprofits willing to share only general        Presumably, nonprofits do not want to share this
averages and totals of donations, nearly 70 percent        information because donors prefer it that way.
of the sample is strongly resistant to revealing any       Requiring disclosure could jeopardize support
individual-level information about donors at all.          from those who would rather give without their
                                                           contributions or identities being reported to the
And this preference is clearly reflected in the            government or disseminated to the general public.
forums in which contributor information is                 For nonprofits that do not want to compromise
currently available, shown on the right half of the        donor wishes for anonymity and yet want to
table. Only 11 percent make their contributor lists        keep their support, the best bet in a state with
publicly available at all, even by request, and for an     electioneering communications laws is to stay
additional 40 percent of the sample, contributors’         silent about politics.



Table 3 The Burden of Disclosing Sensitive Information About Donors

 Information About Donors         Would Share            Where Some Information is Currently Available
           Full Name                   22%                      Published, Publicly Available               5%
            Address                     8%                        Available on Request Only                 6%
          Occupation                    5%               Not Publicly Available, But Known Internally       23%
      Specific Amounts of                            Not Publicly Available, Not Known Internally (Except
                                        8%                                                                  38%
         Contribution                                                 Fundraising Staff)
    Ranges of Contribution             14%               Other (Including Anonymous or Confidential)        22%
       General Averages                25%
     Would Not Share ANY               43%
        Information
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         Speech Regulation: Chilling                              Nearly eight percent of all the respondents claim that
                                                                  they would cut back on, or would stop completely,
         Speech and Trapping the Unwary                           providing any information about candidates or
                                                                  ballot issues if forced to reveal the identities of
                                                                  donors whose contributions were used for those
         The survey results provide evidence that staying         communications. More than 10 percent said that the
         silent is exactly what some nonprofit groups would       effect of such a requirement on their ability to raise
         do in the face of electioneering communications          money to support their work would be “significant,”
         laws and their disclosure requirements, pointing to      “very significant” or “catastrophic.” Moreover, if
         the law’s “chilling effect” on political speech—and      the law affects all contributions, rather than just
         the costs to the general public in information and       those that fund electioneering communications,
         opinions that would go unspoken. The results also        11 percent of the respondents said that they
         suggest that it would be easy for the nonprofits         would cut back on, and more than three quarters
         in our sample to unwittingly find themselves             of those say they would eliminate completely, all
         subject to electioneering communications laws,           mention of candidates or ballot issues. And, in
         demonstrating how these laws can create a legal          terms of fundraising, 36 percent say that such a law
         trap for the unwary.                                     would reduce their ability to raise money at least
                                                                  moderately, with more than 20 percent of those
         More than five percent of the groups communicate         saying the effect would be “catastrophic.”
         in their newsletters about specific ballot issues,
         and more than six percent discuss ballot issues on       Importantly, only five percent of these
         their websites. In a state with an electioneering        organizations had a “Political Committee” registered
         communications law that covers speech about              in Florida. In that state, if an organization wants
         ballot issues, these groups would be subject to          to spend more than $500 a year on “express
         regulation. Moreover, I found that nearly 30 percent     advocacy,” that is, explicitly favoring one candidate
         of the groups at least occasionally communicate          or one position on a ballot issue, it must establish
         with the general public about “general policy issues.”   a political committee, or PAC. Any other paid
         If those issues are raised in an election—either         communications that mention a candidate by
         directly as an issue on the ballot or as an important    name, or a specific ballot issue by name or content,
         topic during a candidate campaign—even more              are also permitted for political committees. But
         groups could inadvertently find themselves subject       they are not allowed for nonprofit organizations
         to electioneering communications regulations for         if they have not registered with the state as an
         speech that had once been routine in newsletters or      “electioneering communications organization,” or
         on websites. These groups would suddenly face the        ECO. What this means is that fully 95 percent of my
         burdens of disclosure and possible punishment for        sample is exposed to punishment if one of their
         their speech, making them less likely to continue to     newsletters or web pages mentions a candidate or
         speak about politics.                                    ballot issue, let alone expresses an opinion about it.

         Table 4 The Chilling Effect of Disclosure Laws on Provision of Political Information by Nonprofit Groups

              With Whom Does Your                          What Information Do You Make Available to Anyone
           Organization Communicate?                        Who is NOT an Employee, Member or Volunteer?
                       Members                   62%                           Free Advertising                            29%
                People on Mailing Lists          62%                          Paid Advertising                             23%
                    General Public               71%                             Newsletter                                52%
                      Legislature                33%                               Reports                                 36%
                        Media                    51%                          Issue Summaries                              17%
                                                                           Op Eds/ Letters to Editor                       16%
                                                                      Radio or TV Appearances by Staff                     38%
                                                                                                                           16
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Tables 4 and 5 demonstrate the depth and               In short, most nonprofits I surveyed routinely
variety of communications that nonprofit groups        engage in communications that reach an audience
in Florida transmit and disseminate. Many of           large enough to fall under Florida’s electioneering
the communications go to “members” of the              communications laws, thus exposing them to
groups, but 71 percent of the groups say they          registration and reporting requirements if they
routinely communicate with the general public.         merely mention or state an opinion about a
Further, anywhere from one-fifth to one-third          candidate or issue on the ballot.
of the organizations communicate directly, via
newsletter, with citizens who are not members,
and anywhere from almost a quarter to one half
                                                       Table 6 Primary Substantive Focus of Organizations in the Sample
communicate with nonmembers through some                Primary Substantive Focus (Self-Reported)         Proportion of Sample
means other than a newsletter. For example,                              Arts/Culture                            12%
almost 50 percent of respondents say that they
routinely post information other than a newsletter                      Educational                              24%
to a publicly available website, where thousands                           Health                                16%
of nonmembers technically (in the eyes of the                          Human Services                            21%
law) have access to it. And more than six percent                         Political                              <1%
said that they post the contents of pending ballot
issues to a publicly available website. Extreme care                     Religious                               15%
would have to be exercised to avoid even casual                        Social Services                           16%
mention of pending ballot issues anywhere on the           Other (Youth Sports, Environment, etc.)               26%
web site, ever, since even one specific reference
makes the entire web site an electioneering
communication.                                         This is true even though most of these groups
                                                       are not “political.” Table 6 illustrates the diversity
Further, Table 5 shows that 45 percent of the          of groups and goals in the sample. The largest
nonprofit organizations routinely communicate          numbers of nonprofits in our sample focus on
with “large populations,” which in electioneering      education and human services. In the course of
disclosure regulations is often a target audience      their activities, they might very plausibly want
of 1,000 people or more. Newsletters are sent          to inform the public of the fact that there is an
by direct mail to members in 43 percent of the         election, or that a specific ballot issue is coming
organizations, but they are also available to the      up for a vote, and to express an opinion about it
general public, either in hardcopy or electronically   that falls short of “express advocacy.” But doing so
via the Internet. Moreover, nearly half of the         would expose these groups to the full disclosure
sample posts information to public websites            requirements of electioneering communications
accessible by thousands.                               laws and the sizable burdens that come with them.




Table 5 Availability of Communications to the Public

         How Is the                                   All Other          Routinely Communicate with
 Communication Disseminated? Newsletter            Communications        More Than 1,000 Nonmembers
                Email                   35%              48%                            45%
             Direct Mail                43%              36%
         Available at Events            38%              51%
   Available to Public (Hardcopy)       33%              36%
   Available to Public (Website, no     36%              50%
              password)
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          How Electioneering                                  nearly identical across states and are not analyzed
                                                              here; a state either has a statute or it does not.
          Communications Laws                                 If a state has a statute, then the trigger is an
                                                              electioneering communication, which means that
          Burden Free Speech and Civic                        the communication mentions a candidate by name
                                                              or unmistakable reference, or it mentions a ballot
          Engagement                                          proposition by content or unmistakable reference.

          This report documents a variety of real-world       The exemptions, likewise, have very little effective
          costs to nonprofit organizations created by         differences across state statutes. The exemptions
          electioneering communications laws that require     often include the following categories: (a) media
          registration and reporting for everyday political   organizations; (b) certain debates and forums; and
          speech. Previous Institute for Justice research     (c) an organization’s communications solely to its
          documented how similar disclosure laws for          members.
          contributions to ballot issue committees both
                                                                               The requirements of the statutes are
                                                                                   the sources of their real impacts.
                                                                                      Organizations that trigger
       The requirements these laws impose are expensive,                               the statutes in non-exempt
                                                                                        forms of communications
       intrusive and time-consuming, even if organizations                               must keep records
                                                                                         of expenditures and
       are aware of the law and their obligations under it.                              donations that many of
       Electioneering communications laws impose severe                                  them do not normally
                                                                                         keep and (as the survey
       costs on political speech.                                                       responses show) would
                                                                                       not willingly report. Filling
                                                                                     out the forms completely,
                                                                                  correctly and in a timely fashion
                                                                             would become the number one
                  deter political speech in the form of       priority for many of these tiny organizations, even if
                 contributions and tie up grassroots groups   (as seems likely) their core mission were neglected
               in a complex web of bureaucratic red tape.17   as a consequence. Many of these organizations,
          The results of this report demonstrate just how     it turns out, have effectively no staff, or only
          burdensome disclosure laws can be for non-          very limited staff (a median of 3.5, to be precise),
          political citizen groups and how these laws can     available to carry out these functions, which means
          deter citizen groups from engaging in political     they very likely do not have the spare time needed
          speech.                                             for such requirements.

          As was pointed out above, the electioneering        I found evidence that under the broadest
          disclosure laws have three parts: triggers,         disclosure regime—requiring reporting of all
          exemptions and requirements. The triggers are       contributions—more than 36 percent of the
                                                                                                             18
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organizations that responded to our survey            organizations can handle the requirements rather
expect moderate, significant or catastrophic          easily and are aware of their responsibilities to
effects on their ability to raise funds. One sixth    do so. Amateur groups and local groups that
of the sample said that the effect would be either    just want to provide information are the ones in
“very significant” or “catastrophic.” Contrast this   danger of being exposed to substantial civil fines
with assertions by supporters of these laws who       and possible criminal prosecution. Shutting out
claim that registration with the government           the enthusiasm and the spontaneous and vigorous
and disclosure of a group’s contributions and         desire for change of political amateurs will make
expenditures is benign—that it is “just disclosure”   our democracy sterile and inert.
and so has no practical impact or is a small price
to pay.18 Nonprofit groups may speak as freely as     Disclosure laws also harm the public at large.
they like about whatever issue they choose, the       Less information is provided—and from fewer
argument goes, as long as they simply register with   sources—about important issues of the day. There
and disclose information to the government.           is no demonstrable public benefit to denying the
                                                      public information, from every possible source, on
But the results here show that under electioneering   important issues of the day just because discussing
communications regulations, nonprofit groups may      them often invariably involves mentioning
not in fact speak freely. The requirements these      candidates or ballot issues. And in fact the states
laws impose are expensive, intrusive and time-        that have passed these laws have made no effort
consuming, even if organizations are aware of the     to demonstrate the existence of any compelling
law and their obligations under it. Electioneering    state interest in regulating and discouraging
communications laws impose severe costs on            political electioneering communications that fall
political speech.                                     short of express advocacy. Yet in state after state,
                                                      legislators and bureaucratic agencies are imposing
The costs fall especially hard on amateur and         large burdens on the provision of basic political
volunteer organizations. Professional political       information to citizens.
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                                                                  C o n c lus i o n
         The very essence of American politics, its               Given the number and breadth of communications
         distinguishing feature and its greatest strength, is     efforts made by these diverse organizations, it
         the vitality of grassroots activism and participation.   is nearly inevitable that one of two things will
         One of the keenest observers of American                 happen. Either someone will accidentally provide
         democracy was, perhaps not surprisingly, a visitor       information to the public and be forced to pay
         from another nation: Alexis de Tocqueville. In his       the regulatory penalty, or else the groups will
         book, Democracy in America, published in 1835,           avoid providing even routine and innocuous
         Tocqueville describes his travels in the U.S. and        information. And that is the real danger of
         focuses in particular on the tendency of private         government regulation of speech. Citizens
         citizens to work through associations to solve
         pressing public problems:

              They all, therefore, become powerless
              if they do not learn voluntarily to
              help one another. If men living in                  Electioneering disclosure laws
              democratic countries had no right
              and no inclination to associate for                 disinform the public and disenfranchise
              political purposes, their independence
              would be in great jeopardy, but they
                                                                  citizens. They are bad law, bad policy
              might long preserve their wealth                    and bad for democracy.
              and their cultivation: whereas if they
              never acquired the habit of forming
              associations in ordinary life, civilization
              itself would be endangered . . . [N]o form
              or combination of social polity has yet
              been devised to make an energetic people            and groups in society form the very basis of
              out of a community of pusillanimous and             democratic action. An informed citizenry is a
              enfeebled citizens.19                               politically active and effective public good. But
                                                                  electioneering disclosure laws disinform the public
         What Tocqueville means is that nonpolitical              and disenfranchise citizens. They are bad law,
         voluntary private associations are not just separate     bad policy and bad for democracy. Legislators
         loose ends to be tidied up by regulation. Small          would do well to consider repealing these laws
         private associations are the cords that hold             and avoid similar expansions of the regulation of
         together the fabric of democracy at every level.         political speech, and courts should take seriously
         But with the growth of campaign finance laws             the anti-democratic impacts of electioneering
         regulating an ever-expanding arena of speech             communications regulations and the real-world
         and speakers, associations that are not politically      burdens they impose on First Amendment rights.
         oriented or organized for political purposes
         are subject to regulation at a level entirely
         unprecedented in American history.
                                                                                                                                20
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                                                                            Appendix A
                                                                                          Complete Survey Responses
1. How many employees do you have whose job is all, or           6. Which of the following best describes the availability of
mostly, processing or recording contributions?                   your donor list?
No one keeps track specifically                          11.7%   Published, and publicly available on-line           5%
One person, part-time                                    44.8%   Published, but access only on request              5.9%
One person, full-time                                    21.3%   Not publicly available, but widely known within    23%
                                                                 our organization
More than one person, part-time                          11.7%
                                                                 Not publicly available, and not known within our
More than one person, full-time                          5.4%                                                       38.1%
                                                                 organization, except for fundraising staff
We contract this out                                     0.4%    Other                                              22.2%

2. How many people in your organization track expenditures       7. What proportions of your total operating funds come from
you make to outside people, groups or vendors?                   the following categories? (Median Percentage for Each
(Expenditures, for example, include purchases, payments,         Response)
distributions, loans, advances, transfers or gifts)              Anonymous gifts; where even you don’t know the      1%
No one keeps track specifically                          3.8%    identity of the donor

One person, part-time                                    45.6%   Confidential gifts; where you know the identity     3%
                                                                 but are asked not disclose it
One person, full-time                                    18%     Other contributions                                19%
More than one person, part-time                          18.4%   Dues                                               18%
More than one person, full-time                          9.6%    Sales                                              10%
We contract this out                                     1.7%    Events                                             16%
3. Do you currently track how much time employees spend          Grants                                             19%
on different projects?                                           8. What proportion of your contribution revenue comes
We do not allocate time by projects                      59.8%   anonymously or confidentially, on average? (I am asking
Employees are assigned to a project full-time, so                about money received, not the number of contributions)
all of their time “counts” on that project, regardless   4.6%
of what they work on                                             None, most years                                   51.9%
                                                                 Less than 2%                                       28%
Employees keep track of days that they work on           4.2%
different projects                                               2% or more, but less than 5%                       4.2%
Employees keep track of hours they work on                       5% or more, but less than 10%                      2.9%
                                                         13%
different projects
Other arrangement                                        13%     10% or more, about…                                7.1%

4. Do you track specific costs associated with producing         9. How much of the value of total contributions you receive
and disseminating newsletters? Check all that apply.             are “in kind,” that is, contributions of goods, equipment,
                                                                 supplies, space, media access, or web hosting?
We don’t publish a newsletter                            34.3%
                                                                 None; we never receive such contributions          23%
We track employee time                                   6.3%
                                                                 Some; but it’s hard to estimate the amounts,       44.8%
We record printing and mailing costs                     53.6%   because we don’t know the monetary value

We track other costs                                     7.9%    Some; and the monetary value is:_________          17.6%
                                                                 A lot; but it’s hard to estimate the amounts,
5. What information do you or would you be willing to share      because we don’t know the monetary value           5.9%
with the public about your donors? Check all that apply.         A lot                                               5%
Full name                                                21.8%
                                                                 10. From whom does your group solicit and/or accept
Address                                                  7.9%    contributions? Check all that apply.
Occupation (for individuals)                             4.6%    Members                                            54.8%
Principal type of business (for corporations)            15.5%   People on our mail or email lists                  55.2%
Specific amounts for each contribution                   8.4%    General public                                     70.3%
Amounts of contributions, by range                       13.8%   Corporations or foundations                        65.3%
Whatever is indicated above, we would only                       Other                                              22.2%
                                                         3.3%
provide this information on major donors
General statistics on donors                             24.7%
No information of any kind                               42.7%
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      11. With whom does your organization try to communicate?     15. Please complete the following sentence: “Our
      Check all that apply.                                        website at least occasionally contains information
      Members                                              61.5%   about______________.” Check all that apply.
      People on our mailing lists                          61.9%   Nothing. We do not have a website                   17.2%

      People on email lists, with an “opt out” provision   31%     Our mission, location, and staff                    76.2%

      General public                                       71.1%   Events sponsored by our organization, giving        70.3%
                                                                   times and locations
      Members of the legislature                           32.6%
                                                                   General policy issues                               25.9%
      Media                                                51%
                                                                   The contents of a pending ballot issue              6.3%
      Other                                                17.2%
                                                                   Our views about a pending ballot issue              5.9%
      12. What kind(s) of information do you make available to     Specific ballot issues, suggesting how people       3.3%
      anyone who is not an employee or volunteer? Check all that   should vote on each
      apply.                                                       Pending bills in the legislature that may mention   2.5%
                                                                   individual candidates
      Free advertising                                     28.9%
                                                                   Specific candidates by name, in the context of
      Paid advertising                                     23.4%                                                       1.7%
                                                                   some policy problem
      Newsletter                                           51.9%   “Scorecards,” or ratings of voting records,         1.3%
                                                                   mentioning some candidates by name
      Reports                                              35.6%
                                                                   Specific candidates, mentioned by name, with        0.4%
      Issue summaries                                      17.2%   suggestions on how people should vote

      Blog articles                                        8.8%    Debates or forums where opposing sides present      0.4%
                                                                   positions
      Op-ed articles                                       15.9%   Other political events                              2.5%
      Letters to the editor                                15.9%   Topics only our members can see, because our        1.3%
                                                                   website is password protected
      Radio or TV appearances by staff member              37.7%
      Other                                                22.6%   16. Please complete the following sentence: “Our
                                                                   newsletter at least occasionally provides information about
      13. If you provide information in a newsletter, how is it    ___________.” Check all that apply.
      disseminated? Check all that apply.
                                                                   Nothing. We do not have a newsletter                21.8%
      Email to members                                     34.7%
                                                                   Our mission, location, and staff                    63.2%
      Email to nonmembers                                  20.1%
                                                                   Events sponsored by our organization, giving
      Direct mail to members                               43.1%                                                       66.1%
                                                                   times and locations
      Direct mail to nonmembers                            20.9%   General policy issues                               28.9%
      Available at meetings or events                      37.7%   The contents of a pending ballot issue              5.4%
      Available to the public from our office              33.1%   Our views about a pending ballot issue              3.8%
      Posted to website, password protected for                    Specific ballot issues, suggesting how people
                                                           4.2%                                                        2.5%
      member-only access                                           should vote on each
      Posted to website, publicly available                36%     Pending bills in the legislature that may mention   0.4%
                                                                   individual candidates
      Other                                                 5%
                                                                   Specific candidates by name, in the context of      0.4%
      14. If you provide information other than in a newsletter,   some policy problem
      how is it disseminated? Check all that apply.                “Scorecards,” or ratings of voting records,         0.4%
                                                                   mentioning some candidates by name
      Email to members                                     48.1%
                                                                   Specific candidates, mentioned by name, with
      Email to nonmembers                                  24.3%                                                       0.4%
                                                                   suggestions on how people should vote
      Direct mail to members                               35.6%   Debates or forums where opposing sides present      0.8%
                                                                   positions
      Direct mail to nonmembers                            23.4%
                                                                   Other political events                              2.5%
      Available at meetings or events                      51%
      Available to the public from our office              35.6%   17. Do you have other communications or activities that seek
                                                                   to inform your members about candidates or pending specific
      Posted to website, password protected for
      member-only access                                   7.1%    ballot issues around the state?
      Posted to website, publicly available                49.8%   Yes                                                 7.5%

      Other                                                10.9%   No                                                  87%

                                                                   18. Do you have other communications or activities that seek
                                                                   to inform nonmembers about candidates or pending specific
                                                                   ballot issues around the state?
                                                                   Yes                                                 4.2%
                                                                   No                                                  88.7%
                                                                                                                             22
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19. Consider the communication that you send out to the        23. Assuming that the law described in the question above
largest number of people. Can you estimate how many people     was passed but only affects your organization if you
are likely to receive that communication?                      mention candidates or specific pending ballot issues, how
Less than 1,000                                   44.4%        would you change the information that you provide about
1,000 or more, but less than 5,000                26.4%
                                                               candidates or specific pending ballot issues?
                                                               Eliminate all that type of information              8.4%
5,000 or more, but less than 10,000               6.7%
                                                               Decrease it a lot                                   1.3%
10,000 or more, but less than 100,000             9.2%
                                                               Decrease it a little                                1.3%
100,000 or more                                   2.5%
                                                               Not at all; we would be happy to disclose donor
20. Suppose your state legislature passed a new law            information                                          5%
affecting donors whose contributions go toward                 Doesn’t apply; we never mention specific ballot    50.2%
communications that mention candidates or specific             issues or candidates
pending ballot issues. For these donors, you would have to     Increase it a little                                0.4%
report the full names, addresses, and amounts, plus, for any   Increase it a lot                                   0.4%
contribution greater than $100, occupation (for individuals)
                                                               None of the above, or other                         8.4%
or principal type of business (for corporations). How would
this affect your ability to raise money?                       24. Approximately how many members does your
Not at all                                        58.2%        organization have?
                                                               Nationwide
Some, but not much                                7.9%
                                                               0-10                                               20.9%
Moderately                                        3.8%
                                                               11-100                                              5.9%
Significantly                                     6.7%
                                                               101-1000                                            7.1%
Very significantly                                3.8%
                                                               1001-10,000                                          5%
The effect would be catastrophic                  1.7%
                                                               10,001-100,000                                      2.9%
None of the above, or other                       7.5%
                                                               More than 100,000                                   3.3%
21. Assuming that the law described in the question above
was passed, how would you change the information               Average                                           35,947.88
(newsletter, web site, etc.) that you provide about            Median                                              22.5
candidates or specific pending ballot issues?                  Florida
Eliminate all that type of information             5%
                                                               0-10                                               16.3%
Decrease it a lot                                 0.8%
                                                               11-100                                             12.6%
Decrease it a little                              2.1%
                                                               101-1000                                           25.1%
Not at all; we would be happy to disclose donor   6.7%         1001-10,000                                        10.5%
information
Doesn’t apply; we never mention specific ballot                10,001-100,000                                      4.2%
                                                  50.2%
issues or candidates
                                                               More than 100,000                                   2.1%
Increase it a little                               0%
                                                               Average                                           11,625.72
Increase it a lot                                 0.4%
                                                               Median                                             267.5
None of the above, or other                       10%
                                                               25. Individuals become members of your organization by
22. Suppose your state legislature passed a new law            doing one or more of the following. Check all that apply.
affecting all contributions to nonprofit groups. Under         We don’t have membership                           35.1%
the law, you would have to report all of your donors’ full
                                                               Paying regular dues                                 36%
names, addresses, and amounts contributed, plus, for any
contribution greater than $100, occupation (for individuals)   Having voting rights                                8.8%
or principal type of business (for corporations). How would    Making at least one contribution                   15.5%
this affect your ability to raise money?                       Signing up, electronically or by mail              13.8%
Not at all                                        28%
                                                               Volunteering their time to the organization        23.8%
Some, but not much                                19.2%
                                                               Other                                              13.8%
Moderately                                        9.2%
                                                               Membership requires more than one of the above     13.8%
Significantly                                     11.3%
Very significantly                                8.4%
The effect would be catastrophic                  7.5%
None of the above, or other                       7.9%
23
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      26. Approximately how much does your organization receive        31. Of the contributions you receive, about what proportions
      in total annual contributions?                                   fall into the following amount ranges?
      Nationwide                                                       $0-$100
      0-10,000                                           15.1%         Average                                              39.31%
      10,001-100,000                                      9.6%         Median                                               30.00%
      100,001-1,000,000                                   4.2%         $101-$250
      More than 1,000,000                                 3.8%         Average                                              15.09%
      Average                                          $493,552.49     Median                                               10.00%
      Median                                            $5,000.00      $251-$500
      Florida                                                          Average                                              11.06%
      0-10,000                                           24.3%         Median                                                9.50%
      10,001-100,000                                     18.4%         $501-$1,000
      100,001-1,000,000                                  15.9%         Average                                              10.67%
      More than 1,000,000                                 7.1%         Median                                                6.50%
      Average                                          $688,441.56     $1,001 or above
      Median                                           $30,000.00      Average                                              23.46%
      27. If you are a branch of a larger organization, in how many    Median                                                7.50%
      states does that larger organization operate and collect         32. What is the primary substantive focus of your
      contributions?                                                   organization?
      0-10                                               40.5%         Arts/Culture                                          12.1%
      11-49                                              10.8%         Educational                                           24.3%
      50                                                 48.6%         Health                                                16.3%
      Average                                            28.55%        Human Services                                        20.9%
      Median                                              49%          Political                                             0.8%
      28. Does your organization, or your affiliated national          Religious                                             14.6%
      organization, have a Political Committee registered in           Social services                                       16.3%
      Florida?
                                                                       Other                                                 25.9%
      Yes                                                 4.6%
                                                                       33. What type of organization are you, in terms of tax
      No                                                 85.4%
                                                                       status?
      29. How many total employees (paid) does your                    501(c)(3)                                             92.1%
      organization have in Florida?
                                                                       501(c)(4)                                             0.4%
      0                                                  18.4%
                                                                       527                                                    0%
      1-10                                               41.8%
                                                                       Other                                                 2.9%
      11-50                                              12.1%
                                                                       34. Have you accepted contributions from______? Check
      51-100                                              4.2%
                                                                       all that apply.
      101-1000                                            5.9%
                                                                       501(c)(3) organizations                               37.7%
      More than 1,000                                     0.8%
                                                                       501(c)(4) organizations                               4.2%
      Average                                             73.13
                                                                       527 organizations                                     2.5%
      Median                                               3.5
                                                                       Other nonprofits                                      29.7%
      30. How many volunteers does your organization have in           For profit corporations                               48.5%
      Florida?
                                                                       Not sure; we don’t collect that information           17.2%
      0                                                   8.4%
      1-10                                               21.3%        Note: For some questions, percentages may not total to 100 due to
      11-100                                              36%         nonresponse.

      101-1,000                                          13.4%
      1,001-10,000                                        2.5%
      More than 10,000                                    2.5%
      Average                                           2,631.92
      Median                                               20
                                                                                                                    24
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                                                           Appendix B
                                                                       Non-response Bias Analysis

The organizational size of respondents was systematically larger than the mean, or median, nonprofit
organization in Florida. The answers to questions 24 (employees) and 32 (type of nonprofit) on the survey
were compared to the overall averages for nonprofits using data from the Florida Association of Nonprofit
Organizations (FANO).




Employees
It is difficult to know exactly how many nonprofit organizations there are in Florida, but there are three
possibilities:20

Exempt Organization Master File (EOMF; 2005): 46,587 organizations

IRS Form 990/PF Flier Listing (2006): 17,814 organizations

ES-202, State of Florida Listing (2005): 6,192 organizations

The most accurate data, for our purposes, are the form 990 listings that organizations must file annually.
For this purpose, then, the number of employees of all types statewide is approximately 630,000, as of the
second quarter of 2005. This includes 380,000 paid workers and an additional 250,000 volunteers.


Table B1 Workers per Organization
                                              Paid       Volunteer
                Universe (means)               21           14
      Respondents (mean/median)              73/3.5      2,600/20

Clearly, the bias in response was toward larger organizations, quite possibly much larger than average. If
the same difference between mean and median exists in the universe as in our sample, then the median
nonprofit organization in Florida is quite small. It likely lacks the resources to fill out surveys of this type,
much less fill out electioneering disclosure forms.

In terms of statistical effects, then, we are likely underestimating the effects of the electioneering laws
by overestimating the capacity of organizations in our sample to fill out the forms. The burden on all
nonprofits is even larger than what we find, because our sample is taken disproportionately from the
relatively professionalized organizations with more employees and more resources.
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         Type
         As a check on possible sample bias, we also collected information on the “primary substantive focus” of
         the organizations. The results from the universe and our sample are reported in Table B2. The categories
         do not match up perfectly. However, in broad outline, the proportions of the sample do not diverge
         sharply from the universe.


         Table B2 Comparing the Focus of the Universe of Florida Nonprofits to Our Sample
          Focus of the Organization                                   Universe*                 Sample
          Arts/Culture                                                    16%                     12.1%
          Educational                                                     18%                     24.3%
          Health (NOT hospitals)                                          14%                     16.3%
          Human Services                                                  18%                     20.9%
          Political/Advocacy                                               5%                      0.8%
          Religious                                                    (unknown)                  14.6%
          Social Services                                                 13%                     16.3%
          Other                                                           16%                     25.9%

         *Some categories are approximate matches. Percentages recalculated to take “hospitals” and “nursing homes” out of
         both numerator and denominator of ratios.
                                                                                                                  26
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                                                                   Endnotes

1    Broward Coal. of Condos., Homeowners Ass’ns, and Cmty. Orgs. v. Browning, No. 08-445, 2008 U.S. Dist.
     LEXIS 91591, at *2 (N.D. Fla. Oct. 29, 2008); Broward Coal. of Condos., Homeowners Ass’ns & Cmty. Orgs.
     v. Browning, No. 08-445 (N.D. Fla. filed May 22, 2009); Hafenbrack, J., & Deslatte, A. (2009, May 27).
     Judge throws out Florida rules regulating ‘527’ political groups; Law that applied to campus, condo
     groups was too broad, opinion said. South Florida Sun-Sentinel, p. 3B.
2    424 U.S. 1 (1976).
3    540 U.S. 93 (2003).
4    127 S. Ct. 2652 (2007). This case is commonly referred to as WRTL II to distinguish it from an earlier
     Supreme Court ruling involving the same parties, Wisconsin Right to Life, Inc. v. FEC, 546 U.S. 410
     (2006).
5    127 S. Ct. at 2667.
6    Id. at 2669.
7    Definitions taken from the following statutes: Alaska (Alaska Stat. § 15.13.400); California (Cal. Gov’t
     Code § 85310); Colorado (Colo. Const. art. XXVII, § 2 and Colo. Rev. Stat. 1-45-103); Connecticut
     (Conn. Gen. Stat. § 9-601a); Florida (Fla. Stat. § 106.011); Hawaii (Haw. Rev. Stat. § 11-207.6); Idaho
     (Idaho Code § 67-6602); Illinois (10 Ill. Comp. Stat. 5/9-1.14); Louisiana (La. Rev. Stat. 18:1463(C)(5));
     North Carolina (N.C. Gen. Stat. § 163-278.80(2), (5)); Ohio (Ohio Rev. Code Ann. 3517.1011(A)(7)(a));
     Oklahoma (74 Okl. St. Chap. 62, Appx., 257:1-1-2); Vermont (17 Vt. Stat. Ann. § 2891); Washington
     (Wash. Rev. Code § 42.17.020(20)); West Virginia (W. Va. Code § 3-8-1a(12)(A)).
8    Some contributions of $50 or less may be reported in the aggregate. Alaska Stat. § 15.13.040(l)(2)(B).
     PACs are subject to different contribution reporting requirements. Alaska Stat. § 15.13.040(b)(2).
9    Electioneering Communications Organizations; Political Committees, DE 08-08, Op. Dept. of State, Div.
     of Elections, at 3-4 (June 18, 2008).
10   Id.
11   The triggers also rule out “express advocacy” because any organization engaged in express advocacy
     is potentially subject to even more stringent regulation as a political committee.
12   http://www.ij.org/index.php?option=com_content&task=view&id=2396&Itemid=165.
13   Alaska Stat. § 15.13.390.
14   17 Vt. Stat. Ann. § 2806 (b).
15   Conn. Gen. Stat. § 9-623.
16   Fla. Stat. § 106.19.
17   Carpenter, D. M. (2007). Disclosure costs: Unintended consequences of campaign finance legilstion.
     Arlington, VA: Institute for Justice; Carpenter, D. M. (2009). Mandatory disclosure for ballot initiative
     campaigns. Independent Review, 13(4), 567-583; Milyo, J. (2007). Campaign finance red tape: Strangling
     free speech and political debate. Arlington, VA: Institute for Justice.
18   Bauer, R. F. (2007). Not just a private matter: The purposes of disclosure in an expanded regulatory
     system. Election Law Journal, 6, 38-55.
19   Tocqueville, A. (1961). Democracy in America (Vol. 2). New York: Vintage.
20   Salamon, L. M., Lessans, S., & Sokolowski, G. S. W. (2008). Florida’s nonprofit sector: An economic force.
     Jacksonville, FL: Johns Hopkins Center for Civil Society Studies and Florida Philanthropic Network.
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                               a b o u t t h e Au t h o r


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            elections, using human subjects.
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